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“LT LAOGy ONTELANY Od” OL SouTeaMoa Tad AHS alae SWI L SHL LY.
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"SW “SINTOd aSOHL OL SHSNOdSH¥ GNW SUAMSNY qaH CNY. ‘NOILWSUAANOD
i wAo NI Laoag CaN TWL aM LWHL SLINIOd AHL ONIYRAOD | ‘LNATIO AW Yod
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SHL (aa aNaNa a qus *WOIMSNY JO MNV/F9V9LYON AC IMAMLNOAOO

: ALY HONEIYAa XS aan: LNO@Y. aah CaNsSw GNY: SINEWOOOd. HLTM ada
‘GEAUS I NHHM: 'ODW. SUWHA LHOID LAOGY. NOTLYSYSANOO. LSWT qno: LnOdy.

dayTw aM ‘NOSNIGOU. “SW et CUEaAT TEC: aaaM SHNEROOOG HL HONO.

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“CNY ° NOLLOWUHINI wno ONTYAC FAT LWYRdO09 aNY ATONAT SA SYM CNY
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SNOMnIDE

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OL dzauEs: ad OL SINanMND0a ONTMOTTOA HL QaALEOaY  T YWINOIINWa
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*NoSaUWHOTY ‘LpezeR. XOd “O'd  SHIWIOOSSY HOUvaSay HATLWOILSSANT
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